         Case 3:19-cv-01743-SI       Document 146    Filed 05/29/20   Page 1 of 43




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                                   DISTRICT OF OREGON
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                                              )
JOHN DOE #1, et al.,                          )     CASE NO. 3:19-cv-01743-SI
                                              )
              Plaintiffs,                     )
   v.                                         )     DEFENDANTS’ MOTION
                                              )     TO DISMISS
DONALD TRUMP, in his official capacity as     )
President of the United States, et al.,       )     Oral Argument Requested
                                              )
              Defendants.                     )
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           Case 3:19-cv-01743-SI                    Document 146               Filed 05/29/20             Page 2 of 43




                                                 TABLE OF CONTENTS

                                                                                                                                   Page

TABLE OF CONTENTS................................................................................................................. i

TABLE OF AUTHORITIES ......................................................................................................... iii

CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7-1 .................................................. 1

MOTION TO DISMISS ................................................................................................................. 1

I.        INTRODUCTION .............................................................................................................. 1

II.       BACKGROUND ................................................................................................................ 3

          A.        Immigrant Visa Application Process ...................................................................... 3

          B.        Presidential Proclamation 9945 .............................................................................. 4

          C.        Procedural Background ........................................................................................... 6

III.      LEGAL STANDARD......................................................................................................... 7

          A.        Federal Rule of Civil Procedure 12(b)(1) ............................................................... 7

          B.        Federal Rule of Civil Procedure 12(b)(6) ............................................................... 8

IV.       ARGUMENT ...................................................................................................................... 8

          A.        The Court lacks subject-matter jurisdiction over this action. ................................. 8

                    1.         Plaintiffs lack standing for claims against DHS and HHS. ........................ 8

                    2.         Latino Network lacks standing. .................................................................. 9

                    3.         The individual Named Plaintiffs all either lack standing or their
                               claims are moot. ........................................................................................ 11

                    4.         Courts may not review non-constitutional challenges to the
                               political branches’ decisions to exclude noncitizens. ............................... 14

                    5.         Separation of powers bars injunctive relief against the President. ........... 16

          B.        Plaintiffs fail to state a claim upon which relief can be granted. .......................... 17



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI
      Case 3:19-cv-01743-SI                    Document 146                 Filed 05/29/20              Page 3 of 43




               1.         Plaintiffs fail to state a claim under the APA (Claim I). ........................... 17

               2.         Plaintiffs fail to state an equal protection claim (Claim II). ..................... 23

               3.         Plaintiffs fail to state a claim that the Proclamation is “ultra vires”
                          (Claim III). ................................................................................................ 26

               4.         Plaintiffs fail to state a procedural due process claim (Claim IV). ........... 33

V.   CONCLUSION ................................................................................................................. 35




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                ii
            Case 3:19-cv-01743-SI                    Document 146               Filed 05/29/20             Page 4 of 43




                                               TABLE OF AUTHORITIES

                                                                 Cases

Abourezk v. Reagan,
  785 F.2d 1043 (D.C. Cir. 1986) ................................................................................................ 30

Allen v. Milas,
  896 F.3d 1094 (9th Cir. 2018) ............................................................................................ 22, 23

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................. 8, 24, 30, 31

Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................... 8

Bennett v. Spear,
  520 U.S. 154 (1997) ................................................................................................ 17, 19, 20, 21

Block v. Community Nutrition Inst.,
  467 U.S. 340 (1984) .................................................................................................................. 23

Bruno v. Albright,
  197 F.3d 1153 (D.C. Cir. 1999) .......................................................................................... 15, 23

Bustamante v. Mukasey,
  531 F.3d 1059 (9th Cir. 2008) .................................................................................................. 22

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ............................................................................................................ 12, 13

Dalton v. Specter,
  511 U.S. 462 (1994). ..................................................................................................... 15, 16, 18

DaimlerChrysler Corp. v. Cuno,
  547 U.S. 332 (2006) .............................................................................................................. 7, 11

Doe v. Trump,
  957 F.3d 1050 (9th Cir. 2020) ........................................................................................... passim

Doe v. Trump,
  944 F.3d 1222 (9th Cir. 2019) .................................................................................................. 25

East Bay Sanctuary Covenant v. Trump,
  932 F.3d 742 (9th Cir. 2018) .................................................................................................... 18

East Bay Sanctuary Covenant v. Trump,
  950 F.3d 1242 (9th Cir. 2020) .................................................................................................. 11


DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                    iii
            Case 3:19-cv-01743-SI                    Document 146               Filed 05/29/20             Page 5 of 43




Emami v. Nielsen,
  365 F. Supp. 3d 1009 (N.D. Cal. 2019) .................................................................................... 33

FCC v. Beach Commc’ns, Inc.,
  508 U.S. 307 (1993) .................................................................................................................. 25

Fiallo v. Bell,
  430 U.S. 787 (1977) ........................................................................................................... passim

Franklin v. Massachusetts,
  505 U.S. 788 (1992) ............................................................................................................ 16, 18

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
  528 U.S. 167 (2000) .................................................................................................................... 9

Gebhardt v. Nielsen,
  879 F.3d 980 (9th Cir. 2018) .................................................................................................... 33

Gill v. Whitford,
  138 S. Ct. 1916 (2018) ................................................................................................................ 8

Harisiades v. Shaughnessy,
  342 U.S. 580 (1952) ............................................................................................................ 19, 33

Innovation Law Lab v. McAleenan,
  924 F.3d 503 (9th Cir. 2019) .................................................................................................... 21

Kerry v. Din,
  135 S. Ct. 2128 (2015) ........................................................................................................ 16, 33

Kleindienst v. Mandel,
  408 U.S. 753 (1972) ........................................................................................................... passim

Kokkonen v. Guardian Life Ins. Co. of Am.,
  511 U.S. 375 (1994) .................................................................................................................... 7

Kowalski v. Tesmer,
  543 U.S. 125 (2004) .................................................................................................................. 11

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
  134 S. Ct. 1377 (2014) .............................................................................................................. 17

Li Hing of Hong Kong, Inc. v. Levin,
   800 F.2d 970 (9th Cir. 1986) .................................................................................................... 22

Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) .............................................................................................................. 8, 12



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                    iv
            Case 3:19-cv-01743-SI                    Document 146               Filed 05/29/20             Page 6 of 43




Lujan v. Nat’l Wildlife Fed’n.,
  497 U.S. 871 (1990) .................................................................................................................. 21

Mathews v. Diaz,
 426 U.S. 67 (1976) .................................................................................................................... 26

Mississippi v. Johnson,
  71 U.S. 475 (1867) .................................................................................................................... 16

Moss v. U.S. Secret Serv.,
 572 F.3d 962 (9th Cir. 2009) ...................................................................................................... 8

Nat’l Org. for Marriage, Inc. v. Walsh,
  714 F.3d 682 (2d Cir. 2013)........................................................................................................ 8

O’Bannon v. Town Court Nursing Ctr.,
  447 U.S. 773 (1980) .................................................................................................................. 11

PETA v. U.S. Dep’t of Agriculture,
  797 F.3d 1087 (D.C. Cir. 2015) ................................................................................................ 10

Romer v. Evans,
  517 U.S. 620 (1996) .................................................................................................................. 23

Safe Air for Everyone v. Meyer,
  373 F.3d 1035 (9th Cir. 2004) .................................................................................................. 13

Sale v. Haitian Ctrs. Council, Inc.,
  509 U.S. 155 (1993) ................................................................................................ 28, 30, 32, 33

Shaughnessy v. United States ex rel. Mezei,
  345 U.S. 206 (1953) ............................................................................................................ 14, 19

Slayman v. FedEx Ground Package Sys., Inc.,
  765 F.3d 1033 (9th Cir. 2014) .................................................................................................. 14

Spokeo, Inc. v. Robins,
  136 S. Ct. 1540 (2016) .................................................................................................... 8, 10, 12

Summers v. Earth Island Inst.,
  555 U.S. 488 (2009) .................................................................................................................. 13

Thomas v. Union Carbide Agric. Prods. Co.,
  473 U.S. 568 (1985) .................................................................................................................. 13

Town of Chester, N.Y. v. Laroe Estates, Inc.,
  137 S. Ct. 1645 (2017) .............................................................................................................. 30



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                     v
            Case 3:19-cv-01743-SI                      Document 146                Filed 05/29/20              Page 7 of 43




Trump v. Hawaii,
  138 S. Ct. 2392 (2018) ....................................................................................................... passim

Turlock Irrigation Dist. v. FERC,
  786 F.3d 18 (D.C. Cir. 2015) .................................................................................................... 10

U.S. Army Corps of Eng’rs v. Hawkes Co.,
  136 S. Ct. 1807 (2016) .............................................................................................................. 19

United States ex rel. Knauff v. Shaughnessy,
  338 U.S. 537 (1950) .................................................................................................................. 15

United States ex rel. Mateski v. Raytheon Co.,
  816 F.3d 565 (9th Cir. 2016) ...................................................................................................... 7

United States ex rel. Solis v. Millennium Pharm., Inc.,
  885 F.3d 623 (9th Cir. 2018) ...................................................................................................... 7

Updike v. Clackamas Cty.,
  No. 15-723, 2015 WL 7722410 (D. Or. Nov. 30, 2015) .......................................................... 12

Ventura-Escamilla v. INS,
  647 F.2d 28 (9th Cir. 1981) ...................................................................................................... 22

Warth v. Seldin,
 422 U.S. 490 (1975) .................................................................................................................... 9

Webster v. Doe,
 486 U.S. 592 (1998) .................................................................................................................. 18

                                                                  Statutes

5 U.S.C. § 701 ............................................................................................................................... 22

5 U.S.C. § 702 ......................................................................................................................... 18, 23

5 U.S.C. § 704 ......................................................................................................................... 19, 21

6 U.S.C. § 236 ............................................................................................................................... 15

8 U.S.C. § 1104 ............................................................................................................................. 22

8 U.S.C. § 1153 ............................................................................................................................... 3

8 U.S.C. § 1154 ............................................................................................................................... 3

8 U.S.C. § 1182 ...................................................................................................................... passim

8 U.S.C. § 1185 ............................................................................................................... 2, 4, 18, 26

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                       vi
            Case 3:19-cv-01743-SI                      Document 146                Filed 05/29/20              Page 8 of 43




8 U.S.C. § 1201 ................................................................................................................... 3, 22, 34

8 U.S.C. § 1202 ............................................................................................................................... 3

8 U.S.C. § 1252 ............................................................................................................................. 15

8 U.S.C. § 1361 ............................................................................................................................... 3

44 U.S.C. § 3501 ....................................................................................................................... 6, 20

44 U.S.C. § 3507 ........................................................................................................................... 20

                                                                    Rules

Federal Rule of Civil Procedure 12 ..................................................................................... i, 1, 7, 8

Federal Rule of Civil Procedure 23 ................................................................................................ 7

                                                               Regulations

22 C.F.R. § 40.6 .............................................................................................................................. 3

22 C.F.R. § 42.62 ............................................................................................................................ 3

22 C.F.R. § 42.71 ............................................................................................................................ 3

22 C.F.R. § 42.81 ............................................................................................................................ 3

                                                          Other Authorities

Presidential Proclamation 9945, Suspension of Entry of Immigrants Who Will Financially
  Burden the United States Healthcare System in Order to Protect the Availability of Healthcare
  Benefits for Americans, 84 Fed. Reg. 53,991 (Oct. 9, 2019) ............................................ passim




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                                      vii
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 9 of 43




              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7-1

       Defendants’ counsel have conferred by telephone with Plaintiffs’ counsel, who oppose this

motion. The parties made a good faith effort to resolve this dispute but have been unable to do so.

                                    MOTION TO DISMISS

       Defendants move to dismiss Plaintiffs’ First Amended Class Action Complaint (FAC),

ECF No. 100, under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

I.     INTRODUCTION

       Plaintiffs—an organization and two certified subclasses represented by seven U.S. citizens

and one noncitizen spouse of a U.S. citizen—challenge the implementation and enforcement of

Presidential Proclamation 9945, Suspension of Entry of Immigrants Who Will Financially Burden

the United States Healthcare System in Order to Protect the Availability of Healthcare Benefits for

Americans, 84 Fed. Reg. 53,991 (Oct. 9, 2019) (“Healthcare Proclamation” or “Proclamation”).

       Plaintiffs raise four challenges to the Proclamation. First, Plaintiffs claim that Defendants

have taken final agency actions to implement the Proclamation that violate the Administrative

Procedure Act (APA) in various ways. FAC ¶¶ 227-37. Second, Plaintiffs claim that the

Proclamation and its implementation violate the equal protection guarantee of the Fifth

Amendment because those actions “burden a fundamental right of Plaintiffs and Class Members

and were motivated by intentional discrimination and/or animus based on race, ethnicity, and/or

national origin.” FAC ¶ 241; see id. ¶¶ 238-42. Third, Plaintiffs claim that the Proclamation is

“ultra vires” because it “exceeds” the President’s authority under the Immigration and Nationality

Act (INA) and “violates constitutional separation of powers principles.” FAC ¶¶ 246-47; see id.

¶¶ 243-47. Fourth, Plaintiffs claim that the Proclamation and its implementation violate the

procedural due process guarantee of the Fifth Amendment because those actions “deprive



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI
        Case 3:19-cv-01743-SI         Document 146         Filed 05/29/20     Page 10 of 43




individuals, including Plaintiffs and their members or clients” of “statutory and regulatory rights,

and liberty interests, without due process.” FAC ¶ 256; see id. ¶¶ 248-57. Plaintiffs seek

declaratory and injunctive relief declaring the Proclamation “unlawful and invalid” in its entirety

and enjoining Defendants from implementing or enforcing any part of the Proclamation. FAC,

Prayer for Relief, ¶¶ A-D.

       The Court should dismiss all of Plaintiffs’ claims for lack of subject-matter jurisdiction.

First, no Plaintiff has alleged any injury that is fairly traceable to any action by the Department of

Homeland Security (DHS) or the Department of Health and Human Services (HHS). Second, the

organizational and individual Plaintiffs have not identified an actual or imminent concrete injury

that would result from the Proclamation or its implementation by any Defendants and be sufficient

to establish Article III standing. Third, this Court may not review non-constitutional challenges to

the political branches’ decisions to exclude noncitizens abroad. Fourth, separation of powers

prevents this Court from granting injunctive relief against the President.

       Alternatively, the Court should dismiss all of Plaintiffs’ claims because they have failed to

state a claim for relief. First, Plaintiffs fail to state a claim under the APA because the Proclamation

is not reviewable under the APA, and Plaintiffs have not identified any final agency action that is

reviewable under the APA. Second, Plaintiffs fail to state an equal protection claim because they

do not identify any fundamental right or suspect class, nor do they allege facts to support a finding

that the Proclamation could only be motivated by racial animus. Third, Plaintiffs fail to state a

claim that the Proclamation is “ultra vires” because it is plainly authorized by the President’s

authority under 8 U.S.C. § 1182(f) and § 1185(a), and Plaintiffs fail to allege an express conflict

between the Proclamation and any other provision of the INA or any other statute. Finally,




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                   2
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 11 of 43




Plaintiffs fail to state a procedural due process claim because they do not identify any protected

“right” or “liberty interest” that is infringed upon by the Proclamation or its implementation.

II.    BACKGROUND

       A.      Immigrant Visa Application Process

       Under the INA, an alien seeking to enter the United States from abroad generally must

apply for and be issued a visa. The Proclamation applies only to individuals seeking immigrant

visas (i.e., noncitizens seeking to reside in the United States permanently). 84 Fed. Reg. at 53,992,

§ 2. Generally, before a noncitizen may apply for an immigrant visa, she must be the beneficiary

of an approved petition filed by a prospective employer in the United States or a family member

who is U.S. citizen or lawful permanent resident. See 8 U.S.C. §§ 1153(a), 1154(a)(1). The

intending immigrant beneficiary then must pay a required fee, complete a medical examination,

submit a visa application, and attend an in-person interview before a consular officer at a U.S.

embassy or consulate. See 8 U.S.C. § 1202(a), (e); 22 C.F.R. § 42.62.

       After the visa interview, a consular officer decides whether to issue or refuse the visa.

See 8 U.S.C. § 1201(a)(1), (g); 22 C.F.R. §§ 42.71, 42.81(a). The applicant bears the burden of

demonstrating “to the satisfaction of the consular officer” that she is eligible for the visa. 8 U.S.C.

§ 1361. No visa “shall be issued to an alien” if “it appears to the consular officer” from the

application papers “that such alien is ineligible to receive a visa” or if “the consular officer knows

or has reason to believe” that the alien is ineligible. Id. § 1201(g); see 22 C.F.R. § 40.6 (explaining

that the term “‘reason to believe’ . . . shall be considered to require a determination based upon

facts or circumstances which would lead a reasonable person to conclude that the applicant is

ineligible to receive a visa”). Consular officers must accordingly make a range of predictive

determinations and reasonable inferences based on available evidence. See, e.g., 8 U.S.C.



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  3
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 12 of 43




§ 1182(a)(2)(D) (alien who is coming to the United States intending to engage in prostitution or

other unlawful commercialized vice is inadmissible).

       B.      Presidential Proclamation 9945

       Under 8 U.S.C. § 1182(f), the President has broad authority “to ‘suspend the entry of all

aliens or any class of aliens’ whenever he ‘finds’ that their entry ‘would be detrimental to the

interests of the United States.’” Trump v. Hawaii, 138 S. Ct. 2392, 2407-08 (2018) (quoting

8 U.S.C. § 1182(f)). Section 1185(a)(1) further makes it unlawful “for any alien to . . . enter or

attempt to . . . enter the United States except under such reasonable rules, regulations, and orders,

and subject to such limitations and exceptions as the President may prescribe.” Id.

       On October 4, 2019, the President issued the Healthcare Proclamation pursuant to his

constitutional powers and his statutory authority in 8 U.S.C. § 1182(f) and § 1185(a)(1). 84 Fed.

Reg. 53,991. The President issued the Proclamation to address the “substantial costs” U.S.

healthcare providers and taxpayers bear “in paying for medical expenses incurred by people who

lack health insurance or the ability to pay for their healthcare.” Id. The President found that

hospitals and other healthcare providers “often administer care to the uninsured without any hope

of receiving reimbursement from them,” and these costs are passed on to the American people in

the form of higher taxes, higher premiums, and higher fees for medical services. Id. Further, the

President found that uncompensated care costs have exceeded $35 billion in each of the last 10

years, a burden that can drive hospitals into insolvency. Id. The President also found that uninsured

individuals strain Federal and State government budgets through reliance on publicly funded

programs, which are ultimately funded by taxpayers, and by using emergency rooms to seek

remedies for a variety of non-emergency conditions. Id.




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 4
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 13 of 43




       The President found that challenges caused by uncompensated care are exacerbated by

admitting to the United States thousands of immigrants annually who have not demonstrated any

ability to pay for their healthcare costs. 84 Fed. Reg. at 53,991. Notably, the President found, “data

show that lawful immigrants are about three times more likely than United States citizens to lack

health insurance.” Id. Thus, the President found, continuing to allow entry into the United States

of “certain immigrants who lack health insurance or the demonstrated ability to pay for their

healthcare” would be “detrimental to the interests of the United States,” including protecting and

addressing the challenges facing our healthcare system and protecting American taxpayers from

the burden of uncompensated care. Id. To address these challenges, the President suspended, with

various exceptions, entry into the United States of immigrants who cannot satisfy a consular officer

at a visa interview that they (1) will be covered by approved health insurance, as set out in the

Proclamation, within 30 days of entering the United States, or (2) will have “the financial resources

to pay for reasonably foreseeable medical costs.” Id. at 53,991-92.

       The Proclamation has several exceptions. Because it applies to individuals who “seek[] to

enter the United States pursuant to an immigrant visa,” 84 Fed. Reg. at 53,992, § 2, it does not

apply to noncitizens who seek to enter the United States on a nonimmigrant visa, including foreign

students attending American schools, temporary agricultural workers, workers performing

temporary or seasonal work, business travelers, or tourists. The Proclamation also does not apply

to asylees or refugees. Id. It further exempts most children, various other visa categories, and any

intending immigrant “whose entry would further important United States law enforcement

objectives, as determined by the Secretary of State or his designee based on a recommendation of

the Attorney General or his designee,” or “whose entry would be in the national interest, as

determined by the Secretary of State or his designee on a case-by-case basis.” Id. at 53,992-93.



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  5
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 14 of 43




       The Proclamation sets out a range of possible healthcare plans visa applicants can use to

satisfy its requirements. 84 Fed. Reg. 53,992. Notably, an immigrant visa applicant does not have

to establish coverage before the consular interview and does not necessarily have to establish that

she will have coverage before entering the United States, only that she will be “covered by

approved health insurance” within 30 days of entering the United States. Id. Alternatively, the

intending immigrant may meet the requirements of the Proclamation by satisfying a consular

officer that she has “the financial resources to pay for reasonably foreseeable medical costs.” Id.

       C.      Procedural Background

       The Proclamation was set to take effect on November 3, 2019. 84 Fed. Reg. 53,994. Several

days before then, the State Department posted a notice to the public regarding the Proclamation on

its website. See FAC, Ex. 2. On October 30, 2019, the State Department published in the Federal

Register a “Notice of Information Collection Under OMB Emergency Review: Immigrant Health

Insurance Coverage,” 84 Fed. Reg. 58,199, which describes how the State Department planned to

collect information from immigrant visa applicants covered by the Proclamation. The State

Department published that Notice to comply with the Paperwork Reduction Act, 44 U.S.C. § 3501

et seq., which requires an agency to obtain approval from the Office of Management and Budget

when it seeks to collect certain information from the public, id. § 3502(3).

       Plaintiffs, seven U.S. citizens and an organization named Latino Network, filed a class-

action complaint on October 30, 2019. ECF No. 1. On November 2, 2019, before the

Proclamation’s effective date, this Court issued a temporary restraining order, ECF No. 33, and on

November 26, 2019, this Court entered a universal preliminary injunction halting all

implementation and enforcement of the Proclamation, ECF No. 95. On November 27, 2019,

Plaintiffs filed an amended class-action complaint that added the noncitizen spouse of a U.S.



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 6
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 15 of 43




citizen as a Named Plaintiff, ECF No. 100, and the Court later deemed that as the operative

complaint over Defendants’ objection, ECF No. 117. On April 7, 2020, the Court certified two

subclasses under Federal Rule of Civil Procedure 23(b)(2): (1) a “U.S. Petitioner Subclass”

comprised of individuals in the United States who have petitioned or will petition to sponsor

noncitizen family members for immigrant visas, and (2) a “Visa Applicant Subclass” comprised

of noncitizens who have applied or will apply for immigrant visas.1 ECF No. 132.

III.   LEGAL STANDARD

       A.      Federal Rule of Civil Procedure 12(b)(1)

       The jurisdiction of the federal courts is limited. Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994). The Court must dismiss a complaint for lack of jurisdiction under Rule

12(b)(1) unless Plaintiffs meet their burden to establish that the Court has subject-matter

jurisdiction to adjudicate their claims. United States ex rel. Solis v. Millennium Pharm., Inc.,

885 F.3d 623, 625 (9th Cir. 2018). Plaintiffs must affirmatively establish standing and jurisdiction

for each claim they raise and each form of relief they seek. See DaimlerChrysler Corp. v. Cuno,

547 U.S. 332, 351-53 (2006); United States ex rel. Mateski v. Raytheon Co., 816 F.3d 565, 569

(9th Cir. 2016).

       To satisfy the “‘irreducible constitutional minimum’ of standing,” the party invoking

federal jurisdiction must demonstrate that it has “(1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). “Foremost



       1
          This Court’s class certification order appoints the individual Named Plaintiffs and Latino
Network as class representatives. ECF No. 132 at 36. Plaintiffs previously stated, however, that
“Plaintiff Latino Network no longer seeks to serve as a class representative of either putative
class.” ECF No. 128 at 5 n.1.

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 7
        Case 3:19-cv-01743-SI         Document 146         Filed 05/29/20     Page 16 of 43




among these requirements is injury in fact—a plaintiff’s pleading and proof that he has suffered

the ‘invasion of a legally protected interest’ that is ‘concrete and particularized.’” Gill v. Whitford,

138 S. Ct. 1916, 1929 (2018) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

A plaintiff also must show that his claim is ripe. “To be justiciable, a cause of action must be ripe—

it must present ‘a real, substantial controversy, not a mere hypothetical question.’” Nat’l Org. for

Marriage, Inc. v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013). “A claim is not ripe if it depends upon

‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’” Id.

       B.       Federal Rule of Civil Procedure 12(b)(6)

       “To survive a motion to dismiss” for failure to state a claim under Rule 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, ‘to state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678. “Threadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice.” Id. at 678. Accordingly, “for

a complaint to survive a motion to dismiss, the non-conclusory factual content, and reasonable

inferences from that content, must be plausibly suggestive of a claim entitling the plaintiff to

relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009) (quotation marks omitted).

IV.    ARGUMENT

       A.       The Court lacks subject-matter jurisdiction over this action.

               1.      Plaintiffs lack standing for claims against DHS and HHS.

       Plaintiffs lack standing to raise claims against DHS or HHS because they do not identify

any injury that is “fairly traceable” to DHS or HHS, or any action by these agencies that has caused



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                   8
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 17 of 43




or will cause any injury to Plaintiffs. See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),

Inc., 528 U.S. 167, 180-81 (2000). The portion of Plaintiffs’ complaint titled “Agency

Implementation of the Proclamation,” FAC ¶¶ 40-47, raises allegations related only to a

Department of State website posting, FAC ¶¶ 40-42, and a Department of State Notice of

Information Collection, FAC ¶¶ 43-44. Plaintiffs do not identify or challenge a single action by

DHS or HHS, and thus they cannot establish standing for claims against DHS or HHS.

               2.      Latino Network lacks standing.

       Latino Network cannot establish standing to challenge the Proclamation or its

implementation because it has not suffered any concrete injury or alleged any imminent injury

from the challenged actions, and must be dismissed as a Plaintiff. When an organization sues on

its own behalf, it must establish standing in the same manner as an individual. See Warth v. Seldin,

422 U.S. 490, 511 (1975).

       According to Plaintiffs, Latino Network is “a non-profit organization based in Portland,

Oregon,” whose “organization mission is to educate and empower Multnomah County Latinos to

achieve physical and mental health, safe housing, sustainable financial stability, and social

support.” FAC ¶ 22. Plaintiffs assert that the Proclamation “has and will continue to severely

restrict and frustrate Latino Network’s ability to fulfill its objectives of counseling and referring

low- and moderate-income immigrants to services that will enable them to obtain adequate health-

care benefits.” FAC ¶ 214. Plaintiffs also assert that the Proclamation “has forced and will continue

to force Latino Network to divert significant resources” to help members comply with the

Proclamation, to train staff members, and to educate the community. FAC ¶ 215. Finally, Plaintiffs

assert that “Latino Network’s need to devote resources to respond to the Proclamation and mitigate

its effects on the Portland Latino community necessarily limit[s] the resources available to carry



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  9
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 18 of 43




out its core services and programs, and frustrate its ability to carry out its organizational purpose.”

FAC ¶ 215.

       Plaintiffs’ allegations of injury are not “concrete,” “particularized,” or “fairly traceable” to

particular conduct by the government. Spokeo, 136 S. Ct. at 1547. Courts that have found

organizational standing have done so only in certain limited circumstances where an organization

can establish an independent, cognizable injury in fact to its own protected interests, meaning it

puts forth sufficient allegations to show that the challenged conduct “impaired the organization’s

ability to provide services.” Turlock Irrigation Dist. v. FERC, 786 F.3d 18, 24 (D.C. Cir. 2015).

This requires allegations that, if true, would show that the government’s conduct inhibited the

organization’s “daily operations” in some cognizable way. See PETA v. U.S. Dep’t of Agriculture,

797 F.3d 1087, 1094 (D.C. Cir. 2015) (Millett, J., dubitante).

       Plaintiffs’ alleged injuries are insufficient to meet this standard. They allege that Latino

Network has been “forced” to “divert significant resources” to help its members comply with the

Proclamation, train its staff, and educate the community. FAC ¶ 215. But these activities are

completely consistent with Latino Network’s asserted mission of “educat[ing] and empower[ing]

Multnomah County Latinos to achieve physical and mental health, safe housing, sustainable

financial stability, and social support.” FAC ¶ 22. Even if Latino Network did alter the services it

already was providing, that would not be a valid basis for standing—if it were, any lawyer would

have standing to challenge the validity of any law that affects the advice she provides to her clients.

Plaintiffs must allege some concrete injury to Latino Network caused by the Proclamation and that

they have diverted resources to counteract that injury. East Bay Sanctuary Covenant v. Trump, 950

F.3d 1242, 1265 (9th Cir. 2020). But Plaintiffs do not allege any conflict between the

Proclamation—which seeks to ensure that new immigrants have a plan for adequate healthcare—



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  10
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 19 of 43




and Latino Network’s stated “objective” of assisting immigrants with “obtain[ing] adequate

health-care benefits.” FAC ¶ 214.

       To the extent that Latino Network attempts to assert standing on behalf of some

unidentified members, such an effort would also fail. A party lacks standing to challenge the

government’s provision (or denial) of benefits to a third party. See, e.g., DaimlerChrysler Corp.,

547 U.S. at 342-46; cf. O’Bannon v. Town Court Nursing Ctr., 447 U.S. 773, 788 (1980)

(emphasizing “distinction between government action that directly affects a citizen’s legal rights”

and “action that is directed against a third party and affects the citizen only indirectly or

incidentally”). Moreover, the participation of eight individual Plaintiffs in this action shows that

individuals are not impeded from bringing suit themselves. See Kowalski v. Tesmer, 543 U.S. 125,

130-34 (2004) (holding that attorneys could not rely on the rights of indigent criminal defendants

because the attorneys did not show they had a sufficiently close relationship with hypothetical

future clients or that those clients were hindered in protecting their own rights).

       Accordingly, Latino Network does not have standing to bring any of the claims in this

action, and it must be dismissed as a Plaintiff.

               3.      The individual Named Plaintiffs all either lack standing or their
                       claims are moot.

       Six of the eight individual Named Plaintiffs—John Doe #1, Juan Ramon Morales, Jane

Doe #2, Jane Doe #3, Iris Angelina Castro, and Blake Doe—lack standing to assert any of their

claims. These individual Plaintiffs have not alleged any actual or imminent injury attributable to

the Proclamation or its alleged implementation. See Spokeo, 136 S. Ct. at 1548.

       Plaintiffs have not tried to allege any actual injury and assert only that the Proclamation

may cause some future injury. An “imminent” injury may satisfy the “injury in fact” standing

requirement, so long as the injury is not “conjectural” or “hypothetical.” Lujan, 504 U.S. at 560.


DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                   11
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 20 of 43




But Plaintiffs’ allegations of injury are entirely hypothetical and insufficient to establish standing.

See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409, 415-18 (2013) (holding that the plaintiffs

could not establish standing based on potential future injury that was not “certainly impending,”

and similarly also could not establish standing based on actions they took “in response to a

speculative threat”). Plaintiffs generally assert that they will not be able to meet the Proclamation’s

requirements and thus it will “permanently separate close family members and inflict irreparable

harm.” FAC ¶ 181. But Plaintiffs do not allege with specificity that there would be no way for

their family members to comply with the Proclamation by planning to obtain adequate health

insurance or pay for any reasonably foreseeable healthcare needs. Moreover, if Plaintiffs’ family

members would be denied an immigrant visa for some reason other than the Proclamation, they

cannot establish that the Proclamation has caused or will imminently cause any injury. See Updike

v. Clackamas Cty., No. 15-723, 2015 WL 7722410, at *7 (D. Or. Nov. 30, 2015) (Simon, J.)

(standing requires “actual or imminent” injury and “a causal connection between the injury-in-fact

and the defendant’s challenged behavior”).

       In any case, even if Plaintiffs could predict a consular officer’s future decision, none has

an imminent immigrant visa interview scheduled. Five of the U.S.-citizen Plaintiffs’ relatives have

not had interviews since filing this lawsuit even though this case has now been pending for seven

months. See ECF No. 126-1, Plaintiffs’ Answers to Defendants’ First Set of Interrogatories, at 8-

9, 45-46, 65-66, 88-89, 105-07.2 One Plaintiff’s wife previously had an immigrant visa interview

scheduled for May 28, ECF No. 126-1 at 27-28, but that interview was canceled. Further, for the

noncitizen relatives who currently live in the United States, they do not allege any plans to leave


       2
          In a factual attack on jurisdiction, the Court may consider evidence beyond the complaint
when deciding a motion to dismiss. See Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039
(9th Cir. 2004).

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  12
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 21 of 43




the country for a yet-to-be-scheduled visa interview. “‘[S]ome day’ intentions—without any

description of concrete plans, or indeed even any specification of when the some day will be—do

not support a finding of . . . ‘actual or imminent’ injury.” Summers v. Earth Island Inst., 555 U.S.

488, 496 (2009) (internal citations omitted). By the time an interview is scheduled and plans are

made to attend the interview, the Plaintiffs’ individual health and financial circumstances may be

entirely different in ways that affect the potential application of the Proclamation.

        Because there is no “certainly impending” collision between Plaintiffs’ interests and the

challenged policies, Clapper, 568 U.S. at 409, there is no concrete “case or controversy” within

the meaning of Article III, and Plaintiffs cannot establish subject-matter jurisdiction. At the very

least, Plaintiffs’ claims are not yet ripe, given that they depend upon “contingent future events that

may not occur as anticipated, or indeed may not occur at all.” Thomas v. Union Carbide Agric.

Prods. Co., 473 U.S. 568, 580-81 (1985). Accordingly, John Doe #1, Juan Ramon Morales, Jane

Doe #2, Jane Doe #3, Iris Angelina Castro, and Blake Doe should be dismissed as Plaintiffs in this

case.

        The Court also lacks subject-matter jurisdiction over the remaining two individual Named

Plaintiffs—Brenda Villarruel and Gabino Soriano Castellanos—because their claims are moot.

Ms. Villarruel is a U.S. citizen who filed a petition to sponsor her noncitizen husband,

Mr. Castellanos, for an immigrant visa. FAC ¶¶ 20-21, 210-13. Like the other Plaintiffs, they seek

prospective relief to enjoin Defendants from implementing or enforcing the Proclamation. FAC,

Prayer for Relief. But Mr. Castellanos already has received an immigrant visa, ECF No. 123, Pls.’

Notice of Add’l Facts, and has entered the United States pursuant to that visa. Mr. Castellanos was

never subject to the Proclamation, nor will he be subject to the Proclamation in the future. He

cannot benefit from any prospective relief in this case, and thus his claims are moot. See Slayman



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 13
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20   Page 22 of 43




v. FedEx Ground Package Sys., Inc., 765 F.3d 1033, 1048 (9th Cir. 2014). Similarly, because Ms.

Villarruel’s claims depend on her husband’s purported inability to demonstrate compliance with

the Proclamation, FAC ¶¶ 210-13, her claims are also moot. Both Mr. Castellanos and Ms.

Villarruel should be dismissed as Plaintiffs in this case.3

               4.      Courts may not review non-constitutional challenges to the
                       political branches’ decisions to exclude noncitizens.

       With respect to non-constitutional claims of U.S. citizens or any claims asserted by

noncitizens abroad, it is a fundamental separation-of-powers principle, long recognized by courts

and Congress through the INA, that the political branches’ decision to exclude aliens abroad is not

judicially reviewable. The Supreme Court has “long recognized the power to expel or exclude

aliens as a fundamental sovereign attribute exercised by the Government’s political departments

largely immune from judicial control.” Fiallo v. Bell, 430 U.S. 787, 792 (1977) (quoting

Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206, 210 (1953)); Doe v. Trump, 957 F.3d

1050, 1071 (9th Cir. 2020) (Bress, J., dissenting) (in this area the President is “operating at the

apex of his constitutional mandate”). Accordingly, “[t]he conditions of entry for every alien, the

particular classes of aliens that shall be denied entry altogether, the basis for determining such

classification, the right to terminate hospitality to aliens, [and] the grounds on which such

determination shall be based” are “wholly outside the power” of courts to control. Fiallo, 430 U.S.

at 796 (citation omitted). Outside of a narrow exception for certain constitutional claims brought

by U.S. resident petitioners—because exclusion is “a fundamental act of sovereignty” by the

political branches and noncitizens have no “claim of right” to enter the United States—courts may


       3
          Defendants respectfully disagree with this Court’s decision that Mr. Castellanos can
adequately represent the Visa Applicant Subclass, given that his claims became moot before the
class was certified. In any case, as discussed below, the Visa Applicant Subclass is comprised
entirely of aliens seeking entry into the United States and thus cannot state any claims for relief.

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 14
          Case 3:19-cv-01743-SI       Document 146       Filed 05/29/20      Page 23 of 43




not review decisions to exclude noncitizens “unless expressly authorized by law.” United States

ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 542-43 (1950). Congress has established a

comprehensive statutory framework for judicial review of decisions concerning an alien’s ability

to remain in the United States. See 8 U.S.C. § 1252. But Congress has never, in § 1252 or any

other provision of the INA, authorized review of a visa denial, and in fact has expressly rejected a

cause of action to seek judicial review of visa denials. See 6 U.S.C. § 236(f) (no “private right of

action” to challenge decision “to grant or deny a visa”); see also Bruno v. Albright, 197 F.3d 1153,

1159 (D.C. Cir. 1999) (denial of visa to alien abroad “is not subject to judicial review . . . unless

Congress says otherwise”). Accordingly, any statutory claim is non-justiciable.4

          Furthermore, Plaintiffs’ assertion that they may challenge the Proclamation directly under

the Constitution because it is “ultra vires” and violates the separation of powers, see FAC ¶¶ 243-

47, is at odds with longstanding Supreme Court precedent. A claim alleging that the President

acted in excess of authority granted by statute is a statutory claim, not a constitutional claim.

See Dalton v. Specter, 511 U.S. 462, 471-77 (1994). And review of such claims is generally

impermissible when “the statute in question commits the decision to the discretion of the

President.” Id. at 474. The language of § 1182(f) “exudes deference to the President in every

clause” and “grants the President broad discretion” with respect to suspension determinations.

Hawaii, 138 S. Ct. at 2408. Under Dalton, accordingly, the Proclamation is not subject to judicial

review.




          4
        The Supreme Court did not find it necessary to address these limits on judicial review in
Hawaii, instead electing to “assume without deciding that plaintiffs’ statutory claims [were]
reviewable,” because, “even assuming that some form of review is appropriate,” Plaintiffs’
challenges to the entry restrictions at issue in that case failed on the merits. Hawaii, 138 S. Ct. at
2407, 2409-11.

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  15
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 24 of 43




       To the extent Plaintiffs attempt to raise constitutional claims, they may be brought only by

the U.S. citizen Plaintiffs, not Mr. Castellanos or any member of the Visa Applicant Subclass. The

Supreme Court has allowed a “circumscribed judicial inquiry when the denial of a visa allegedly

burdens the constitutional rights of a U.S. citizen.” Hawaii, 138 S. Ct. at 2419. And “[g]iven the

authority of the political branches over admission,” this exception is narrow: “when the Executive

exercises this [delegated] power negatively on the basis of a facially legitimate and bona fide

reason, the courts will neither look behind the exercise of that discretion, nor test it by balancing

its justification” against the asserted constitutional interests of U.S. citizens. Id. (quoting

Kleindienst v. Mandel, 408 U.S. 753, 770 (1972)). There is no viable “separation of powers” theory

that a statutory denial of a visa to an alien abroad “burdens a citizen’s own constitutional rights.”

Kerry v. Din, 135 S. Ct. 2128, 2140 (2015) (Kennedy, J., concurring). At the very least, no foreign

national—i.e. no member of the Visa Applicant Subclass—has any constitutional rights regarding

entry into the United States and thus these individuals cannot pursue any claims in this case.

               5.        Separation of powers bars injunctive relief against the
                         President.

       The Supreme Court has held that the separation of powers generally prevents a federal

court from issuing an injunction purporting to supervise the President’s performance of his duties.

Mississippi v. Johnson, 71 U.S. 475, 501 (1867) (“[T]his court has no jurisdiction of a bill to enjoin

the President in the performance of his official duties . . . .”); accord Franklin v. Massachusetts,

505 U.S. 788, 802-03 (1992) (plurality opinion); id. at 826-29 (Scalia, J., concurring in part and

concurring in the judgment). All of Plaintiffs’ claims ultimately challenge the President’s authority

and directives in the Proclamation itself. This Court lacks jurisdiction to grant injunctive relief

against the President.




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 16
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 25 of 43




       B.      Plaintiffs fail to state a claim upon which relief can be granted.

               1.      Plaintiffs fail to state a claim under the APA (Claim I).

       Plaintiffs base their APA claim on allegations that “Defendants have taken actions to

implement the Proclamation, including informing visa applicants and consular officials of new

requirements,” FAC ¶ 229, and that those actions violate the APA in various ways, FAC ¶ 230-37.

Plaintiffs have failed to state any claim for relief under the APA.

                       a.      Latino Network cannot seek relief under the APA
                               because it is not within the zone of interests protected by
                               any statute Plaintiffs identify in the complaint.

       Even if Latino Network had standing to raise claims, it could not bring a claim under the

APA because it is not within the “zone of interests” arguably protected by any statute that Plaintiffs

identify. Judicial review under the APA “extends only to plaintiffs whose interests ‘fall within the

zone of interests protected by the law invoked.’” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 134 S. Ct. 1377, 1388 (2014). To identify the interests protected by a statute, the court

employs “traditional tools of statutory interpretation.” Id. at 1387. The analysis focuses not on the

purpose of the statute as a whole but on the “particular provision of law upon which the plaintiff

relies.” Bennett v. Spear, 520 U.S. 154, 175-76 (1997). Latino Network cannot meet this test

because Plaintiffs do not cite any statute in their complaint that extends rights to or regulates the

interests of immigrant advocacy organizations. Accordingly, Latino Network cannot challenge the

Proclamation or its implementation under the APA, and its APA claims must be dismissed.

                       b.      The APA does not authorize claims against the President.

       To the extent that Plaintiffs’ APA claims challenge the President’s issuance of the

Proclamation, these claims must be dismissed. The APA provides a cause of action for “[a] person

suffering a legal wrong because of agency action.” 5 U.S.C. § 702 (emphasis added). The President



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 17
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 26 of 43




is not an “agency” under the APA, and thus the APA does not permit challenges to Presidential

action. Dalton, 511 U.S. at 468-70; Franklin, 505 U.S. at 800-01 (holding that Congress did not

expressly allow for review of the President’s actions in the APA so “his actions are not subject to

its requirements”). Plaintiffs’ complaint is targeted at the Proclamation and not at any agency

action that could conceivably be reviewable under the APA. Indeed, Plaintiffs seek a declaration

that the Proclamation is “unlawful and invalid” and seek an injunction preventing Defendants

“from implementing or enforcing any part of the Proclamation.” FAC, Prayer for Relief, ¶¶ A-B.

Because Plaintiffs seek to enjoin the Proclamation, they cannot raise claims based on APA rules

or standards. See East Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 770 (9th Cir. 2018).

                       c.      Plaintiffs cannot avoid the barriers to APA review by
                               purporting to challenge agency “implementation” of the
                               Proclamation.

       Plaintiffs cannot avoid these barriers to stating an APA claim by asserting that “Defendants

have taken actions to implement the Proclamation” that “constitute final agency action(s) within

the meaning of the [APA].” FAC ¶ 229.

       As an initial matter, 8 U.S.C. § 1182(f) and § 1185(a)(1) “exude[ ] deference” to the

President and “foreclose the application of any meaningful judicial standard of review.” Webster

v. Doe, 486 U.S. 592, 600 (1998). These principles bar judicial review in this case because the

Supreme Court “ha[s] long recognized the power to . . . exclude aliens as a fundamental sovereign

attribute exercised by the Government’s political departments largely immune from judicial

control.” Fiallo, 430 U.S. at 792 (quoting Shaughnessy v. United States ex rel. Mezei, 345 U.S.

206, 210 (1953)). “The conditions of entry for every alien, the particular classes of aliens that shall

be denied entry altogether, the basis for determining such classification, the right to terminate

hospitality to aliens, [and] the grounds on which such determination shall be based” are “wholly



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  18
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 27 of 43




outside the power of [the courts] to control.” Id. at 796 (quoting Harisiades v. Shaughnessy, 342

U.S. 580, 596-97 (1952) (Frankfurter, J., concurring)). Thus, there is no basis for statutory review

of the Proclamation or its “implementation” under the APA.5

       Furthermore, the APA limits judicial review to “final agency action for which there is no

other adequate remedy in a court.” 5 U.S.C. § 704; U.S. Army Corps of Eng’rs v. Hawkes Co., 136

S. Ct. 1807, 1813 (2016). “[T]wo conditions . . . generally must be satisfied for agency action to

be ‘final’ under the APA. ‘First, the action must mark the consummation of the agency’s

decisionmaking process—it must not be of a merely tentative or interlocutory nature. And second,

the action must be one by which rights or obligations have been determined, or from which legal

consequences will flow.’” Hawkes Co., 136 S. Ct. at 1813 (quoting Bennett, 520 U.S. at 177-78).

Accordingly, for Plaintiffs to state an APA claim, they must adequately identify in their complaint

final agency actions that carry some legal force by themselves, not simply as a result of the

President’s Proclamation. Plaintiffs have failed to do so because the only relevant legal obligations

they identify associated with the Proclamation arise from the Proclamation itself.

       As noted above, the only agency “actions” Plaintiffs identify and assert as “final” are a

Department of State website posting, FAC ¶¶ 40-42, and a Department of State Notice of

Information Collection, FAC ¶¶ 43-44. As to the website posting, the State Department routinely

provides information to the public via website postings that describe various procedures for

immigrant visa applicants to follow. Consistent with that practice, the State Department posted on

its website a notice to the public of the existence of the Proclamation. FAC, Ex. 2. The posting



       5
         The Supreme Court in Trump v. Hawaii, 138 S. Ct. 2392 (2018), did not rule on whether
separation of powers barred statutory claims relating to exclusion of foreign nationals. See id. at
2407. The Court rejected plaintiffs’ statutory claims on the merits, which made it unnecessary to
decide whether the claims were otherwise barred. Id. at 2407, 2415.

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 19
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 28 of 43




quoted the Proclamation and referenced other existing requirements for immigrant visa interviews

and adjudications. Id. The website posting did not create or alter any legal rights and obligations.

Because it did not have any independent legal effect, it is not a “final agency action” under the

APA. Indeed, the Proclamation leaves it entirely to the discretion of the Secretary of State to decide

whether to set out additional guidelines on how the Proclamation should be implemented. 84 Fed.

Reg. at 53,993, § 3. And, had the State Department not provided any notice to the public on its

website, the Proclamation’s suspension of entry still would have gone into effect.

       Similarly, Plaintiffs’ assertion that the State Department’s Notice of Information

Collection is a “final agency action” represents a fundamental misunderstanding of that Notice.

That Notice was a preliminary step in the statutorily mandated Paperwork Reduction Act process,

not a final action that could be challenged under the APA. The Paperwork Reduction Act,

44 U.S.C. § 3501 et seq., generally requires an agency to obtain OMB approval to ask standardized

questions of 10 or more members of the public within a 12-month period, id. § 3502(3) (defining

“collection of information”). The agency can only collect such information once it has received

OMB approval. See 44 U.S.C. § 3507(a)(2). The State Department thus requested OMB approval

for consular officers to ask standardized questions of immigrant visa applicants covered by the

Proclamation. 84 Fed. Reg. 58,199. This request for approval from OMB was simply an

intermediary step in the process of collecting information from the public; it marked neither the

“consummation of [a] decision making process” nor was it an action from which “legal

consequences will flow.” Bennett, 520 U.S. at 178.

       Plaintiffs ultimately fail to direct their complaint against any “final agency action,” as

required to raise a claim under the APA. See 5 U.S.C. § 704; see also Lujan v. Nat’l Wildlife

Fed’n., 497 U.S. 871, 890-93 (1990). One reason for this is that the final agency action that might



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 20
        Case 3:19-cv-01743-SI        Document 146       Filed 05/29/20     Page 29 of 43




be subject to review under these principles—a visa denial—is protected from review by principles

of consular nonreviewability, as discussed below. But that does not give license to recast the

website posting or information-collection process as final agency actions in order to circumvent

this core nonreviewability principle. Plaintiffs’ nebulous challenge to the State Department’s

attempts to notify the public about the Proclamation and actions taken to comply with the

Paperwork Reduction Act must be dismissed.

       The Court likewise must dismiss Plaintiffs’ claim that Defendants were required to engage

in formal rulemaking before the Proclamation could go into effect. FAC ¶ 230. Again, the

Proclamation itself creates no such requirement. 84 Fed. Reg. at 53,993, § 3. Instead, the

Proclamation leaves it entirely to the discretion of the Secretary of State to decide whether to set

out additional guidelines on how the Proclamation should be implemented. Id. There is no directive

that the agency must go through notice-and-comment rulemaking. Moreover, even if the agencies

issued guidance, the Ninth Circuit has held that when an agency adopts a “general statement of

policy” to guide its officials in making discretionary decisions on a case-by-case basis, such

guidance documents “are exempted from the notice-and-comment requirement.” Innovation Law

Lab v. McAleenan, 924 F.3d 503, 509 (9th Cir. 2019). Requiring notice-and-comment rulemaking

before a Presidential proclamation could take effect would contradict the Supreme Court’s

decision in Hawaii, which rejected the suggestion that there are implicit procedural limitations on

the broad delegation of authority conferred on the President by § 1182(f). Hawaii, 138 S. Ct.

at 2408-10.




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                21
        Case 3:19-cv-01743-SI          Document 146         Filed 05/29/20       Page 30 of 43




                        d.      The doctrine of consular nonreviewability prevents
                                Plaintiffs from challenging consular officers’ decisions
                                on visa applications.

        Even if Plaintiffs had identified a final agency action, the doctrine of consular

nonreviewability recognizes that Congress has empowered consular officers with the authority to

issue or refuse an application for a visa made overseas. See 8 U.S.C. §§ 1104(a), 1201(a), (g). A

“‘consular official’s decision to issue or withhold a visa is not subject either to administrative or

judicial review.’” Bustamante v. Mukasey, 531 F.3d 1059, 1061 (9th Cir. 2008) (quoting Li Hing

of Hong Kong, Inc. v. Levin, 800 F.2d 970, 971 (9th Cir. 1986)). This rule is rooted in “the

recognition that the power to exclude or expel aliens, as a matter affecting international relations

and national security, is vested in the Executive and Legislative branches of government.” Allen

v. Milas, 896 F.3d 1094, 1104 (9th Cir. 2018) (quotation omitted). Judicial intervention in

decisions to exclude aliens “has been restricted to those matters the review of which has been

authorized by treaty or by statute, or is required by the paramount law of the Constitution.”

Ventura-Escamilla v. INS, 647 F.2d 28, 30 (9th Cir. 1981) (quotation omitted). “[W]here Congress

entrusts discretionary visa-processing . . . in a consular officer . . . the courts cannot substitute their

judgments for those of the Executive.” Allen, 896 F.3d at 1105 (citing Mandel, 408 U.S. at 769-

70).

        APA claims are not permitted where “statutes preclude judicial review,” 5 U.S.C.

§ 701(a)(1), which is “determined not only from [the statute’s] express language, but also from the

statutory scheme, its objectives, its legislative history, and the nature of the administrative action

involved.” Block v. Community Nutrition Inst., 467 U.S. 340, 345 (1984). It is well established that

the text, structure, and history of the INA all compel the “unmistakable” conclusion that “the

immigration laws ‘preclude judicial review’ of the of the consular visa decisions.” Saavedra



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                    22
        Case 3:19-cv-01743-SI         Document 146         Filed 05/29/20     Page 31 of 43




Bruno, 197 F.3d at 1160. Congress has specifically foreclosed APA review even for aliens subject

to exclusion orders in the United States, see Allen, 896 F.3d at 1104-07, because allowing such

suits would “give recognition to a fallacious doctrine that an alien has a ‘right’ to enter this country

which he may litigate in the courts of the United States against the U.S. government as a

defendant,” H.R. Rep. No. 1086, 87th Cong., 1st Sess. 33 (1966). The APA does not disturb other

“limitations on judicial review,” 5 U.S.C. § 702(1), including the “doctrine of consular

nonreviewability,” which predates the passage of the APA. Saavedra Bruno, 197 F.3d at 1160.

Thus, in Allen, the Ninth Circuit determined that because “review is not required by some other

provision of law, such as the Constitution, the APA, or the INA, the long-standing rule foreclosing

review of the merits of consular visa decisions is precisely the kind of” limitation “that forms an

exception to the APA’s cause of action and review provisions.” Allen, 896 F.3d at 1105.

       The APA thus does not provide an avenue for review of consular decisions regarding visas.

Id. at 1108 (citing Saavedra Bruno, 197 F.3d at 1164).

               2.       Plaintiffs fail to state an equal protection claim (Claim II).

       Even on behalf of the U.S. citizen Plaintiffs and U.S. Petitioner Subclass, Plaintiffs have

failed to state an equal protection claim because they do not identify any “fundamental right” that

has been burdened or any suspect class, and they do not allege facts that could establish that the

Proclamation was motivated by racial animus.

       To state an equal protection claim, Plaintiffs must, at the very least, identify a “fundamental

right” that has been burdened and identify a “suspect class” that has been targeted. See Romer v.

Evans, 517 U.S. 620, 631 (1996). Plaintiffs have done neither. They state that the Proclamation

and its implementation “burden a fundamental right” and “were motivated by intentional

discrimination and/or animus based on race, ethnicity, and/or national origin.” FAC ¶ 241. But



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  23
        Case 3:19-cv-01743-SI          Document 146         Filed 05/29/20      Page 32 of 43




nowhere in Plaintiffs’ complaint—including the section titled “The Proclamation Does Not Pass

Muster Under Equal Protection,” FAC ¶¶ 162-79—do they identify the “fundamental right” that

they allege has been burdened or any suspect class. Plaintiffs say only that the “intended result” of

the Proclamation is “to reduce immigration from predominantly nonwhite countries,” FAC ¶ 179,

and contend that racial animus is evident in a number of statements made or allegedly made by the

President, FAC ¶¶ 163-67, 169, 172, 175.

        Such general allegations that Defendants’ actions were motivated by racial animus are not

enough to state an equal protection claim. See Hawaii, 138 S. Ct. at 2421 (plaintiffs must allege

that it is “impossible to discern a relationship to legitimate state interests” or that the actions are

“inexplicable by anything but animus”); Iqbal, 556 U.S. at 680-83 (holding that general allegations

of discriminatory intent on the part of government officials did not state a claim when not

supported by specific facts). As noted above, the Supreme Court repeatedly has emphasized that

courts may apply only “a circumscribed judicial inquiry when the denial of a visa allegedly burdens

the constitutional rights of a U.S. citizen,” which requires a court to assess only “whether the

Executive gave a ‘facially legitimate and bona fide’ reason for its action.” Hawaii, 138 S. Ct. at

2418-19, 2420 n.5 (quoting Mandel, 408 U.S. at 769). While the Court in Hawaii acknowledged

that Mandel’s “narrow standard of review” has particular force in cases that implicate national

security concerns, this circumscribed judicial inquiry is not limited to such cases. Id. at 2419. The

Court cited multiple opinions applying and affirming this “deferential standard of review across

different contexts and constitutional claims,” including cases where no national security concerns

were raised. Id. (citing Fiallo, 430 U.S. at 795). In Fiallo, the Court “applied Mandel to a ‘broad

congressional policy’ giving immigration preferences to mothers of illegitimate children,” and

explained that “it is not the judicial role in cases of this sort to probe and test the justifications” of



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                   24
        Case 3:19-cv-01743-SI         Document 146         Filed 05/29/20     Page 33 of 43




immigration policies. Id. at 795, 799. The Court specifically rejected the argument that the Court’s

deferential standard of review in prior immigration cases was limited to cases involving groups of

aliens “perceived to pose a grave threat to the national security.” Id. at 796.

       Plaintiffs have failed to allege any facts that would show it is “impossible to discern a

relationship to legitimate state interests” or that Defendants’ actions are “inexplicable by anything

but animus.” Hawaii, 138 S. Ct. at 2421. Indeed, other than exempting certain Iraqis and

Afghans—an exemption that is inconsistent with Plaintiffs’ theory—the Proclamation does not

distinguish visa applicants based on nationality, race, or ethnicity. Moreover, the stated purposes

of the Proclamation include reducing the “substantial costs” that U.S. healthcare providers and

taxpayers bear “in paying for medical expenses incurred by people who lack health insurance or

the ability to pay for their healthcare,” as well as decreasing uninsured individuals’ reliance on

emergency rooms for non-emergency conditions. 84 Fed. Reg. 53,991. Indeed, the recent burdens

on the healthcare system caused by the COVID-19 pandemic underscore the importance of

healthcare planning by everyone, including intending immigrants before their entry into the United

States, to avoid reliance on emergency room services. See Doe v. Trump, 944 F.3d 1222, 1228

(9th Cir. 2019) (Bress, J., dissenting) (noting that, while the preliminary injunction is in effect, the

government cannot avoid harms identified in the Proclamation, including the “disruption in the

provision of emergency services”). Legitimate public policy goals such as these are well-

recognized and uncontroversial. See FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 314-15 (1993)

(noting that, under rational basis scrutiny, as long as there is some conceivable set of facts that

would justify a classification, the classification prevails, regardless of the actual rationale

underlying the Government’s action and regardless of whether the conceivable basis is borne out

by evidence); cf. Mathews v. Diaz, 426 U.S. 67, 80, 82-83 (1976) (observing that Congress may



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  25
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 34 of 43




legitimately distinguish between citizens and noncitizens in distribution of welfare benefits and

upholding a statute that denied Medicare benefits to noncitizens unless they had been admitted for

permanent residence and had resided in the United States for five years).

       Plaintiffs have failed to state an equal protection claim, and this claim must be dismissed.

               3.      Plaintiffs fail to state a claim that the Proclamation is “ultra
                       vires” (Claim III).

       Plaintiffs assert that the Proclamation is “ultra vires” because it “exceeds” the President’s

authority under the INA, FAC ¶ 246, and “violates constitutional separation of power principles,”

FAC ¶ 247. Plaintiffs are wrong.

                       a.      Plaintiffs cannot state a claim that the Proclamation
                               exceeds the President’s authority under the INA.

       Even if Plaintiffs could bring a claim that a Presidential Proclamation is “ultra vires,” they

have not stated such a claim here. As an initial matter, the President issued the Proclamation

pursuant to § 1182(f) and § 1185(a)(1). Plaintiffs do not challenge the President’s authority under

§ 1185(a)(1), which allows the President to adopt “reasonable rules, regulations, and orders”

governing entry or removal of aliens, “subject to such limitations and exceptions as [he] may

prescribe.”

       Furthermore, Plaintiffs cannot state a claim that the Proclamation exceeds the President’s

authority under § 1182(f). Section 1182(f) provides that “[w]henever the President finds that the

entry of . . . any class of aliens into the United States would be detrimental to the interests of the

United States, he may . . . suspend entry of . . . any class of aliens . . . or impose on the entry of

aliens any restrictions he may deem to be appropriate.” This statute “exudes deference to the

President in every clause,” and in that statute Congress “entrusts to the President the decisions

whether and when to suspend entry,” “whose entry to suspend,” “for how long,” and “on what



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 26
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 35 of 43




conditions.” Hawaii, 138 S. Ct. at 2408; see also Doe, 957 F.3d at 1075 (Bress, J., dissenting)

(“[I]n combination with his innate powers under the Constitution, § 1182(f) creates the high-water

mark for the President’s ability to place limits on who enters this country.”). “[T]he sole

prerequisite” to this “comprehensive delegation” “set forth in § 1182(f) is that the President ‘find[]’

that entry of the covered aliens ‘would be detrimental to the interests of the United States.’”

Hawaii, 138 S. Ct. at 2408.

       Here, the President lawfully exercised this authority after “find[ing] that the unrestricted

immigrant entry into the United States” of “thousands of aliens who have not demonstrated any

ability to pay for their healthcare costs” “would . . . be detrimental to the interests of the United

States.” 84 Fed. Reg. 53,991. The Proclamation sets out the President’s reasons for finding that

entry of covered immigrant visa applicants would be detrimental to the United States, with the

goal being to ensure that immigrants entering the country carry a minimum level of insurance or

have sufficient financial resources to reduce uncovered healthcare costs borne by healthcare

providers and the public. Id. The lack of insurance also causes new arrivals to unnecessarily disrupt

the provision of emergency services by using emergency rooms for treatment of a variety of non-

emergency conditions. Id. This is a problem because new arrivals lack health insurance at rates

around three times those of U.S. citizens. Id.

       Importantly, Hawaii made clear that Plaintiffs cannot raise a challenge to the sufficiency

of the findings in a Presidential Proclamation. 138 S. Ct. at 2409 (finding “questionable” argument

that President must “explain [his] finding[s]”). The Supreme Court also emphasized that, “even

assuming that some form of review is appropriate,” the proclamation at issue in that case (like the

one here) contained more detailed findings than prior proclamations. Id. (citing Proclamation No.

6958, where President Clinton explained in only “one sentence why suspending entry of members



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  27
        Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 36 of 43




of the Sudanese government and armed forces” was in the interests of the United States, and

Proclamation No. 4865, where President Reagan suspended entry of certain “undocumented aliens

from the high seas” with a five-sentence explanation). A more “searching inquiry” into the findings

“is inconsistent with the broad statutory text and the deference traditionally accorded the President

in this sphere.” Id.

        Plaintiffs thus cannot raise a challenge to the Proclamation based on their “perception of

its effectiveness and wisdom,” and courts “cannot substitute [their] own assessment for the

Executive’s predictive judgments.” Id. at 2421. But that is precisely what Plaintiffs assert here

based on their view that the Proclamation will not further its “goal of reducing the burden of

uncompensated care for uninsured individuals.” FAC ¶ 70; see also FAC ¶¶ 67-73 (section entitled

“The Proclamation Is Internally Inconsistent with Its Stated Goals”). Plaintiffs’ views on this point

are irrelevant. “‘Whether the President’s chosen method’ of addressing perceived risks is justified

from a policy perspective is ‘irrelevant to the scope of his [§ 1182(f)] authority.’” Hawaii, 138 S.

Ct. at 2409 (quoting Sale v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 187-88 (1993)). The

President is not required to “conclusively link all of the pieces in the puzzle before [courts] grant

weight to [his] empirical conclusions.” Hawaii, 138 S. Ct. at 2409. In any case, Plaintiffs’ own

allegations that the Proclamation will impact them because they do not have, and do not plan to

obtain, adequate health insurance, FAC ¶¶ 182-213, is consistent with the findings and concern

identified in the Proclamation—the high rate at which new arrivals lack insurance.

        Similarly, Plaintiffs cannot raise a challenge to the Proclamation’s duration. They assert

that the Proclamation exceeds the President’s authority under section 1182(f) because it is

“indefinite.” FAC ¶¶ 8, 91, 181, 246. Such a claim cannot be squared with Hawaii, which rejected

an identical argument. 138 S. Ct. at 2409. The President is not “required to prescribe in advance a



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 28
         Case 3:19-cv-01743-SI        Document 146        Filed 05/29/20     Page 37 of 43




fixed end date for the entry restrictions,” and “[i]n fact, not one of the 43 suspension orders issued

prior to this litigation has specified a precise end date.” Id. at 2409-10. Moreover, Plaintiffs’

allegation that the Proclamation is indefinite is pure speculation. While the President did not set a

specific end date when he issued the Proclamation, just like the proclamation in Hawaii, the

Proclamation requires regular reporting to the President on its “continued necessity,” including

requiring various cabinet secretaries to immediately advise the President if it is no longer

warranted, 84 Fed. Reg. 53,993. See Doe, 957 F.3d at 1076-77 (Bress, J., dissenting) (“When

exercising his vast powers under § 1182(f) and Article II of the Constitution, nothing requires the

President to bind himself to the mast and pre-commit to the recommendations of inferior

officials.”).

        Plaintiffs likewise have failed to state a claim that the Proclamation exceeds the President’s

authority under § 1182(f) because of any conflict with other provisions of the INA. For Plaintiffs

to state such a claim, they must identify an express conflict between the Proclamation and a

specific provision of the INA, Hawaii, 138 S. Ct. at 2411, which they have failed to do. Plaintiffs

assert only that the Proclamation impermissibly “create[s] a new ground of inadmissibility that

Congress has previously considered and chosen not to include in the INA.” FAC ¶ 246. Plaintiffs

do not specify the ground to which they are referring. Elsewhere in their complaint, however,

Plaintiffs point to various considerations by Congress when enacting the current version of the

public charge ground of inadmissibility. FAC ¶ 117-18. Thus, Plaintiffs appear to, at most, attempt

to plead a conflict between the Proclamation and the public-charge ground of inadmissibility in




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 29
        Case 3:19-cv-01743-SI        Document 146       Filed 05/29/20     Page 38 of 43




8 U.S.C. § 1182(a)(4).6 Plaintiffs’ complete lack of clarity is alone enough reason to dismiss this

claim. See Iqbal, 556 U.S. at 678.

       In any case, there is no conflict between the Proclamation and the public-charge ground of

inadmissibility, much less the sort of “express[] override” of the INA that would be necessary to

state such a challenge. Hawaii, 138 S. Ct. at 2411. The INA makes certain categories of persons

inadmissible, but it does not make persons outside those categories admissible. Section 1182(f)

vests the President with “ample power” to impose additional limitations on entry beyond the

inadmissibility grounds in the INA. See Hawaii, 138 S. Ct. at 2408; Sale, 509 U.S. at 187;

Abourezk v. Reagan, 785 F.2d 1043, 1049 n.2 (D.C. Cir. 1986) (describing § 1182(f)’s “sweeping

proclamation power” as enabling the President to supplement the INA inadmissibility grounds).

Congress’s enactment of particular bars to admissibility like the public charge provision thus does

not limit the President’s authority under § 1182(f) to find that entry of other aliens would be

detrimental to the United States. To the contrary, that is the purpose of § 1182(f): to permit the

President to restrict the entry of aliens who otherwise would be admissible to the United States.

Hawaii, 138 S. Ct. at 2412.




       6
          Plaintiffs also mention the VAWA exception to the public charge ground of
inadmissibility, 8 U.S.C. § 1182(a)(4)(E), FAC ¶ 89, but do not specifically allege any
inconsistency between that provision and the Proclamation. Even if they had, Plaintiffs first would
lack standing to assert such a conflict, as none of them alleged that they or their family members
would fall under that exception. See Town of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645,
1651 (2017) (“For all relief sought, there must be a litigant with standing” as “standing is not
dispensed in gross”). Moreover, § 1182(a)(4)(E), like the rest of the public-charge provision, does
not prevent the President from exercising his authority under § 1182(f) to suspend the entry of
aliens who might otherwise be admissible. Hawaii, 138 S. Ct. at 2410-12; see also Doe, 957 F.3d
at 1082 (Bress, J., dissenting) (explaining that “a petitioner who meets VAWA eligibility
requirements is not thereby entitled to admission into the United States” but rather “is merely
exempted from the public charge limitations”).

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                30
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20      Page 39 of 43




       The Healthcare Proclamation complements the existing provisions of the INA and

establishes an additional bar to entry based on a distinct harm to the national interest—the high

rate at which new immigrants lack healthcare coverage and the costs and burdens this imposes on

the healthcare system. The public charge provision, on the other hand, renders inadmissible, with

limited exceptions, an alien who is likely to become a public charge. Importantly, nothing in the

Proclamation alters the public charge analysis; consular officers must still evaluate inadmissibility

under § 1182(a)(4) irrespective of the Proclamation. 84 Fed. Reg. 53,993 (“The review required

by [the Proclamation] is separate and independent from the review . . . required by other statutes

. . . in determining the admissibility of an alien.”). The Proclamation cannot “expressly override”

the public-charge provision, Hawaii, 138 S. Ct. at 2411, when it has no impact at all on how

consular officers administer that provision, see Doe, 957 F.3d at 1081 (Bress, J., dissenting)

(“Nothing in Proclamation No. 9945 ‘eviscerates’ the public charge provision, for the obvious

reason that these are simply two different grounds of inadmissibility.”). Because Plaintiffs have

not identified any express conflict between the Proclamation and the public charge provision, they

cannot state a claim based on that provision.

                       b.      Plaintiffs cannot state a claim that the Proclamation
                               “violates constitutional separation of powers principles.”

       Plaintiffs also fail to state a claim that the Proclamation “violates constitutional separation

of powers principles.” Plaintiffs assert that the Proclamation “contravenes Congress’s expressed

intent to provide a certain minimum level of coverage to all legal immigrants . . . and to extend

certain health care-related benefits to legal immigrants.” FAC ¶ 247. Once again, Plaintiffs fail to

identify any specific statute that allegedly conflicts with the Proclamation, see Hawaii, 138 S. Ct.

at 2411, and their failure to do so is sufficient to dismiss this claim, see Iqbal, 556 U.S. at 678.




DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  31
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 40 of 43




       In the background section of their complaint, Plaintiffs allege that the Affordable Care Act

(ACA), the Public Responsibility and Work Opportunity Reconciliation Act, and the Children’s

Health Insurance Program Reauthorization Act “express and reflect Congress’s intent to extend

certain health care-related benefits to legal immigrants.” FAC ¶ 75; see also id. ¶¶ 93-105.

Assuming that Plaintiffs intended to plead a conflict between these healthcare laws and the

Proclamation, they would fail to state a claim.7 See Doe, 957 F.3d at 1083 (Bress, J., dissenting)

(“[T]he notion that the Proclamation conflicts with the ACA is manifestly incorrect.”). Plaintiffs

assert that “the ACA was intended to expand access to meaningful and affordable health insurance

coverage for all U.S. residents, including legal immigrants.” FAC ¶ 98. But the Proclamation

applies to individuals who are seeking entry into the United States, and “the ACA says nothing

about who may or may not enter this country.” Doe, 957 F.3d at 1083 (Bress, J., dissenting). The

Proclamation does not preclude a new immigrant, once she is lawfully present in the United States,

from obtaining coverage that may be available consistent with the ACA. 84 Fed. Reg. at 53,992.

       The Supreme Court’s treatment of a similar claim in Sale shows the fallacy of a claim based

on the ACA. Sale dealt with statutory asylum protections that were specifically intended for

individuals once they arrived in the United States:

       The INA offers these statutory protections only to aliens who reside in or have
       arrived at the border of the United States. For 12 years, in one form or another, the
       interdiction program challenged here has prevented Haitians such as respondents
       from reaching our shores and invoking those protections.

Sale, 509 U.S. at 160. Despite holding that Congress intended these protections to be available to

individuals upon reaching our shores, the Supreme Court held that “[i]t is perfectly clear” that



       7
          Plaintiffs also would lack standing for such a claim. Plaintiffs do not, for example, allege
that they intend to obtain insurance in the United States made available to them consistent with the
ACA or otherwise utilize the healthcare provisions they cite.

DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 32
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20     Page 41 of 43




§ 1182(f) “grants the President ample power to establish a naval blockade that would simply deny

illegal Haitian migrants the ability to disembark on our shores.” Id. at 187-88. If the plaintiffs in

Sale had no claim, Plaintiffs here cannot state a claim based on ACA provisions that provide

benefits “only to aliens who reside in . . . the United States.” Id. 160.

       There is simply no indication in the ACA or other healthcare provisions cited by Plaintiffs

that Congress intended to limit the President’s authority to suspend or restrict entry under

§ 1182(f). Accordingly, Plaintiffs fail to state a “separation of powers” claim.

               4.      Plaintiffs fail to state a procedural due process claim (Claim IV).

       Plaintiffs fail to state a procedural due process claim under the Due Process Clause of the

Fifth Amendment. Plaintiffs vaguely assert that the U.S. citizen Plaintiffs have statutory and

regulatory “rights related to the petitioning for and issuance of visas and other immigration

benefits,” and “constitutionally protected liberty interests in family reunification,” FAC ¶¶ 252,

253, 255, and that implementation of the Proclamation would “deprive individuals” of these rights

and liberty interests “without due process,” FAC ¶ 256.

       First, there is no statutory or regulatory “right” to file a petition to sponsor another person

for a visa. Indeed, the admission and exclusion of foreign nationals is a “fundamental sovereign

attribute exercised by the Government’s political departments largely immune from judicial

control.” Fiallo, 430 U.S. at 792; see Harisiades, 342 U.S. at 588-89 (“[A]ny policy toward aliens

is vitally and intricately interwoven with contemporaneous policies in regard to the conduct of

foreign relations [and] the war power.”).

       Moreover, individuals in the United States do not have a due process “right” to have their

noncitizen family members receive a visa to enter and reside in the United States. Din, 135 S. Ct.

at 2135; Gebhardt v. Nielsen, 879 F.3d 980, 988 (9th Cir. 2018) (“As we have said before, the



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  33
        Case 3:19-cv-01743-SI         Document 146        Filed 05/29/20       Page 42 of 43




generic right to live with family is ‘far removed’ from the specific right to reside in the United

States with non-citizen family members.”); Emami v. Nielsen, 365 F. Supp. 3d 1009, 1022 (N.D.

Cal. 2019) (dismissing plaintiffs’ due process challenge to Presidential proclamation based on an

alleged right to the “integrity of the family unit”). In Hawaii, the Court reaffirmed that, to the

extent a U.S. citizen has any due process rights to assert with respect to a family member living

abroad, the government provides all the process that is due by giving a statutory citation to explain

a visa denial. 138 S. Ct. at 2419. Thus, due process principles are generally not applicable to federal

government action related to adjudication of visa applications, and even when they are, they are

easily satisfied and are not implicated by the Proclamation.

       Again, the Supreme Court has allowed a “circumscribed judicial inquiry when the denial

of a visa allegedly burdens the constitutional rights of a U.S. citizen,” and that requires a court to

assess only “whether the Executive gave a ‘facially legitimate and bona fide’ reason for its action.”

Hawaii, 138 S. Ct. at 2419 (citing Mandel, 408 U.S. at 770). The “respect for the political

branches’ broad power over the creation and administration of the immigration system” means

that “the Government need provide only a statutory citation to explain a visa denial.” Id. That is

the full scope of due process rights in this area. Nothing more is required.

       As with their equal protection claim, Plaintiffs similarly fail to allege any facts to support

a claim that there is no legitimate basis for the Proclamation or its implementation. Plaintiffs assert

only that consular officers will ask questions to determine compliance with the Proclamation, FAC

¶ 249, and that a “prospective immigrant’s entry to the United States therefore depends on a

determination made by a consular officer with no medical training to accurately assess existing

medical conditions and health issues existing at the time of the visa adjudication,” FAC ¶ 250. But

beyond the circumscribed inquiry described above, Plaintiffs cannot raise a due process challenge



DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                  34
        Case 3:19-cv-01743-SI         Document 146       Filed 05/29/20      Page 43 of 43




to the ways in which visa determinations are made by consular officers. In any event, consular

officers are trained to assess the health-related grounds of inadmissibility, 8 U.S.C. § 1182(a)(1),

based on the medical examinations that immigrant visa applicants have long been required to

submit, id. § 1201(d) (“Prior to the issuance of an immigrant visa to any alien, the consular officer

shall require such alien to submit to a physical and mental examination in accordance with such

regulations as may be prescribed.”). Plaintiffs’ procedural due process claim must be dismissed

for failure to state a claim upon which relief can be granted.

V.     CONCLUSION

       For the foregoing reasons, the Court should dismiss this case for lack of subject-matter

jurisdiction and for failure to state any claim for which relief can be granted.

 Dated: May 29, 2020                              Respectfully submitted,

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DEFENDANTS’ MOTION TO DISMISS
3:19-CV-01743-SI                                 35
